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                                                                           FILED
                                                                    U.S. DISTRICT COURI
                   IN THE UNITED STATES DISTRICT COURT                SAVANNAH DIV.

               FOR THE SOUTHERN DISTRICT OF GEORGIA                2fll8JUNI8 PH2:30

                               SAVANNAH DIVISION                  CLERK
                                                                      SO.OISrjOF GA.


THE UNITED STATES OF AMERICA,


               Plaintiff,

                   V.                           4:18CR84


YAMPIEL GRANJA SOTOLONGO,


               Defendants.




                                  ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in   the   parties'   motions   have   been   resolved    by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this             day of June, 2018.




                                   UNITED STATES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
